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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                 AT COVINGTON

CIVIL ACTION NO. 12-93-DLB-CJS

CHRISTOPHER FRANKE                                                          PLAINTIFF


vs.                              ORDER OF DISMISSAL


XCELERATED INVESTMENTS, INC.                                              DEFENDANT

                                     *** *** *** ***

       The Court having entered Judgment concurrently herewith pursuant to Plaintiff’s

Notice of Acceptance (Doc. # 23) of Defendant’s Rule 68 Offer of Judgment, and the Court

being otherwise sufficiently advised,

       IT IS ORDERED that:

       (1) Plaintiff’s complaint in this action is hereby DISMISSED WITH PREJUDICE; and

       (2) This case is STRICKEN from the Court’s active docket.

       This 26th day of February, 2013.




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